
      1
     C.N.G., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children E.M.G. and E.Y.G. No. 25SC66Supreme Court of Colorado, En BancMarch 10, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA816
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    